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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                                   July 09, 2020
                       UNITED STATES DISTRICT COURT                             David J. Bradley, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
Shashma Kherani                        §     CIVIL ACTION NO.
     Plaintiff,                        §     4:20−cv−02313
                                       §
                                       §
  vs.                                  §     JUDGE CHARLES ESKRIDGE
                                       §
                                       §
Wal−Mart Stores Texas, LLC             §
    Defendant.                         §



                         ORDER FOR CONFERENCE AND
                      DISCLOSURE OF INTERESTED PARTIES
        1.   Counsel and all parties appearing pro se shall appear for
             an initial pretrial conference:

                           August 26, 2020, at 01:30 PM
                          Before the Hon. Charles Eskridge
                            United States District Judge
                                    Courtroom 8B
                             United States Courthouse
                                   515 Rusk Street
                                Houston, TX 77002

        2.   Within 90 days of filing the complaint or removing this
             suit from state court, the plaintiff or plaintiffs filing this
             suit or the party removing it must serve the opposing
             party or parties with copies of:

                  o   This Order;
                  o   The summons and complaint;
                  o   The Court's procedures with all attachments.

             Failure to file proof of service within that time may result
             in dismissal by the Court on its own initiative. See Fed.
             R. Civ. P. 4(m).
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     3.   Within 15 days of receiving this Order, counsel for each
          party must file a list identifying all known attorneys of
          record and all entities that are financially interested in
          this litigation, including parent, subsidiary, and affiliated
          corporations. When a group description is effective
          disclosure, an individual listing is not necessary.
          Underline the names of corporations with publicly traded
          securities. Promptly amend the list when parties are
          added or additional interested parties are identified.

     4.   At least 14 days before the initial pretrial conference,
          counsel must complete and file the Joint Discovery/Case
          Management Plan using the form attached to the Court's
          procedures. See Fed R. Civ. P. 26(f).

     5.   As an attachment to the Joint Discovery/Case
          Management Plan, counsel must complete and file a joint
          proposed scheduling order using the form attached to the
          Court's procedures. The parties must confer in good faith
          to seek agreement on deadlines for completion of all
          pretrial matters. Clearly identify any disagreements with
          reasons in support of the requests made.

     6.   By the day of the conference, counsel must interview
          their clients and read all relevant documents.

     7.   In advance of the conference, counsel must also discuss
          alternative dispute resolution with their clients and each
          other. At the conference, the Court will consider potential
          ADR methods suited to this case.

     8.   Counsel designated of record as attorney-in-charge must
          appear at the initial pretrial conference. The Court
          permits substitution of counsel for this conference only
          on showing of good cause. File and seek ruling on any
          such motion well in advance of the conference.

     9.   Any counsel or pro se party who appears at the
          conference must be:
              o   Fully familiar with the facts and the law
                  applicable to the case;
              o   Prepared to argue any pending motion and to
                  discuss any anticipated motion;
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             o   Prepared to discuss potential alternative dispute
                 resolution methods suited to the case; and
             o   Authorized to bind the client to stipulations
                 relating to any and all matters discussed at the
                 conference.

     10. At or shortly after the conference, the Court will enter a
         scheduling order and may rule on any pending motions.

     11. The parties are bound by this Order, the papers
         mentioned in No. 4 above, and the dates set out in the
         scheduling order to be entered in this case.

     12. Failure to comply with this Order may result in sanctions,
         including dismissal of the action and assessment of
         expenses.

                                  BY THE ORDER OF THE COURT
